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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 IARNACH TECHNOLOGIES LTD.,

                               Plaintiff,           Civil Action No. 2:24-cv-00230
 v.

 CHARTER COMMUNICATIONS, INC.,     JURY TRIAL DEMAND
 CHARTER COMMUNICATIONS HOLDING
 COMPANY, LLC, CHARTER
 COMMUNICATIONS OPERATING, LLC,
 SPECTRUM MANAGEMENT HOLDING
 COMPANY, LLC, and SPECTRUM GULF
 COAST, LLC,
                       Defendants.

                 JOINT STATUS REPORT ON PLAINTIFF’S MOTION TO
                 COMPEL DOCUMENT PRODUCTION UNDER P.R. 3-4(a)
        Pursuant to this Court’s Standing Order Regarding “Meet and Confer” Obligations

 Relating to Discovery Disputes, Plaintiff Iarnach Technologies Ltd. (“Iarnach”) and Defendants

 Charter Communications, Inc.; Charter Communications Holding Company, LLC; Charter

 Communications Operating, LLC; Spectrum Management Holding Company, LLC; and

 Spectrum Gulf Coast, LLC (collectively, “Charter”), hereby jointly submit this status report on

 Plaintiff’s Motion to Compel Document Production Under P.R. 3-4(a), Dkt. No. 87 (the “Motion”).

        Lead and local counsel for both parties formally met-and-conferred on December 10, 2024,

 and have subsequently communicated several times since. To settle the parties’ dispute, the parties

 respectfully request that the Court enter the attached Order. Entering this Order resolves Iarnach’s

 Motion (currently scheduled for December 18, 2024 at 1 pm).
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  Dated: December 16, 2024                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that this document was served to all counsel of record via CM/ECF.

                                                    /s/ Eric Enger
                                                    Eric Enger
